Attachment 1


                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA
            COURT CASE NUMBER: 21-CR-356-CVE; NOTICE OF FORFEITURE

       Notice is hereby given that on October 20, 2021, in the case of U.S. v. William
Colby Cox and Laura Kay Sawyer, Court Case Number 21-CR-356-CVE, the United
States District Court for the Northern District of Oklahoma entered an Order condemning
and forfeiting the following property to the United States of America:

       FEG, Model PA-63, 9mm pistol, serial number AJ3144 (21-ICE-002270)

       Rohm GMBH, Model RG26, .25 caliber pistol, serial number U029476
       (21-ICE-002271)

       Intratec, Model AB-10, 9mm pistol, serial number A045004 (21-ICE-002272)

       Rohm GMBH, .22 caliber revolver; serial number 75435 (21-ICE-002273)

       Lorcin, Model L380, .380 caliber pistol, serial number 321453 (21-ICE-002274)

       Taurus Inc., Model PT-22, .22 caliber pistol, serial number 844372 (21-ICE-002275)

       Approximately 86 rounds of miscellaneous caliber ammunition (21-ICE-002276)

       Green Ammunition can containing approximately 400 rounds of assorted caliber
       and brand ammunition (21-ICE-002277)

       $3,000 in United States currency (21-ICE-002278)

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (June 04, 2022) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 333 West Fourth Street, Room 411, Tulsa, OK 74103,
and a copy served upon Assistant United States Attorney Reagan Reininger, 110 West
Seventh Street, Suite 300, Tulsa, OK 74119. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

       Following the Court’s disposition of all ancillary petitions filed, or if no such petitions



                                                                                Exhibit "B"
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Reagan Reininger, 110 West Seventh Street, Suite 300, Tulsa, OK 74119. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
